       Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 1 of 16




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

Fannie Cameron,                             )
                                            )
      Plaintiff,                            ) Civil Action File No.:
                                            )
      v.                                    )
                                            )
Direct Recovery Services, LLC,              )       COMPLAINT WITH
                                            )    JURY TRIAL DEMAND
      Defendant                             )
                                            )

                        PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. § 1692 et seq.

                                    PARTIES

      1.     Plaintiff, Fannie Cameron, is a natural person who resides in Fulton

County, Georgia.

      2.     Defendant, Direct Recovery Services, LLC, is a limited liability

corporation authorized to do business in Georgia. Defendant may be served with




                                        1
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 2 of 16




process via its registered agent, Incorp Services, Inc., at 9040 Roswell Road, Suite

500, Atlanta, Georgia 30350.

                          JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter

alia, Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Venue is proper in the Atlanta Division because the conduct

complained of herein occurred in Fulton County, which is in the Atlanta Division.

                            FACTUAL ALLEGATIONS

      7.     Plaintiff suffers from deteriorating health. She is disabled and unable

to engage in competitive employment, and is in the process of obtaining disability

insurance benefits through the Social Security Administration.

                                          2
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 3 of 16




      8.     Defendant is a collection agency specializing in the collection of

consumer debt.

      9.     Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      10.    Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      11.    Defendant is, therefore, a “debt collector” as that term is defined by

15 U.S.C. § 1692a(6).

      12.    Beginning in February, 2021 the Plaintiff began receiving voicemails

from the Defendant. Specifically, between approximately February 9th through

February 15th the Plaintiff received at least four separate computerized voicemails

which are set forth chronologically via transcription below.

First voice message, February 9, 2021:




                                         3
       Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 4 of 16




Second voice mail, February 10, 2021:




Third voice mail, on or about February 15, 2021:




                                        4
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 5 of 16




Fourth voice mail, February 22, 2021:




      13.    None of the four voicemails left by the Defendant identify the

Defendant nor do they inform the Plaintiff that they are from a debt collector and

that information it obtains will be used to further its collection efforts.

      14.    The second voice mail represented to the Plaintiff that the Defendant

was making a “final call” concerning her “matter” but that it was still “possible to

find a resolution”. Defendant also indicated he had been researching the Plaintiff

through some public record.



                                            5
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 6 of 16




      15.    The third voice mail shows the Defendant reporting back to the

Plaintiff to inform her that the “hold” they had placed on Plaintiff’s account had

“expired.”

      16.    The fourth voice mail advises that, over the course of the “next two

days” a “special settlement” was available.

      17.    Based on her personal experience and the ordinary usage of the term

“settle” the Plaintiff understood this to mean that the claim being collected by the

Defendant was in suit or subject to suit thus generating a “settlement offer”. Such

settlement offers serve only to compound confusion over a debt's true character or

legal status, as a consumer researching what "settlement" means would reasonably

find the dictionary's definition of the term: "an act of bestowing or giving

possession          under           legal           sanction." Settlement, Merriam-

Webster, http://www.merriam-webster.com/dictionary/settlement        (last   visited

November 1, 2020); see also Settlement, Black's Law Dictionary (10th ed. 2014)

(defining the term to mean "[a]n agreement ending a dispute or lawsuit").

Consequently, the dunning letter in this case is misleading by failing to disclose

that the debt it seeks to collect is time-barred and by giving the false impression

that Defendant could sue to enforce the debt. Palmer v. Dynamic Recovery Sols.,




                                         6
         Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 7 of 16




LLC, No. 6:15-cv-59-Orl-40KRS, 2016 U.S. Dist. LEXIS 59229 (M.D. Fla. May 4,

2016).

      18.     These vague threats and intimations alarmed the Plaintiff making her

fearful of pending or imminent legal action.

      19.     Vague statements by a debt collector that a communication is a “final

attempt” to make contact or that the failure to act will cause the collector to

“escalate” the account can be interpreted to imply that he is about to take some

sort of legal action and violates 15 U.S.C. § 1692e(5) if he the collector has no

intentions of taking the threatened action. See, Long v. H&P Capital, Inc., Civil

Action No. 3:11-cv-00547, 2013 U.S. Dist. LEXIS 102956, at *6 (N.D. Tex. July

23, 2013), citing Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 25 (2d

Cir. 1989).

      20.     The Plaintiff believes and therefore avers that the initial voice

message set forth above was the initial communication from the Defendant.

      21.     The Plaintiff had no way of knowing who was calling her or what the

subject of the calls was unless she was willing to blindly call a toll-free number or

search an internet address. As a result, the Plaintiff was confused as to the nature of

these vague messages.




                                          7
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 8 of 16




      22.     In an effort to discover some information on her own without calling

an unknown number, the Plaintiff did review the most recent credit reports she had

in her possession as published by TransUnion, Experian and Equifax several

months earlier. A review of these reports did not disclose any collector or creditor

by the name “Direct Recovery Services”.

                                INJURIES-IN-FACT

      23.     The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health,

Inc., 654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th

Cir. 2016).

      24.     An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      25.     Violation of statutory rights are not a “hypothetical or uncertain”

injury, but one “that Congress has elevated to the status of a legally cognizable

injury through the FDCPA.” McCamis, at 4, citing Church, at 3.

                                           8
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 9 of 16




      26.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      27.    Defendants acts and omissions caused particularized harm to the

Plaintiff in that the incomplete and misleading information created confusion in the

Plaintiff and precluded here from evaluating or disputing whatever debt is has in

collection. Moreover, the Defendant’s “mystery calls” disturbed the peace of the

Plaintiff while hindering her ability to exercise her rights to limit the calls in

accordance with 15 U.S.C. § 1692c.

      28.    Accordingly, through the violation of Plaintiffs’ statutorily created

rights under the FDCPA, Plaintiffs have suffered an injury-in-fact sufficient to

establish Article III standing.

                                    DAMAGES

      29.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to deceptive and unfair debt collection practices;

      b.)    Uncompensated time expended away from activities of daily living, to

confer with counsel regarding the Defendant's collection efforts;

      c.)    Disturbance of the Plaintiff’s peace and her right to be free of

communications from the Defendant by telephone during inconvenient times;

                                          9
       Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 10 of 16




      d.)      Anxiety and worry caused by concern that Defendant was going to

continue making vague collection calls to the Plaintiff at times that were

inconvenient for the Plaintiff; and,

      e.)      Anxiety and worry caused by concern that Plaintiff was being called

upon to pay an improper claim; that Defendant was going to continue making

collection calls to the Plaintiff at times that were inconvenient for the Plaintiff; and

that her account was in the process of being escalated to legal process. The anxiety

and worry experienced by the Plaintiff was sufficient to negatively affect her

demeanor, her ability to engage in daily activities, resulted in sleeplessness, and

adversely affected her relationships with others.

                               CAUSES OF ACTION

                                       COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et. seq.

Violations of 15 U.S.C. § 1692e and its subparts

      30.      15 U.S.C. § 1692e specifically prohibits the use of any false,

deceptive, or misleading representations or means in connection with the collection

of any debt.




                                          10
       Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 11 of 16




      31.    The use of “or” in § 1692e means a representation violates the

FDCPA if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674

F.3d 1238, 1241 (11th Cir. 2012).

      32.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir.

2010) (per curiam).

      33.    Moreover, the least sophisticated consumer is not to be held to the

same standard as a reasonably prudent consumer. The least sophisticated

consumer, though not unreasonable, is "ignorant" and "unthinking," "gullible,"

and of "below-average sophistication or intelligence," Pinson v. JPMorgan Chase

Bank, Nat'l Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir.

Nov. 12, 2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

      34.    A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.




                                         11
       Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 12 of 16




      35.    The FDCPA is clear that a collector’s failure to disclose in the initial

written communication with the consumer [MTB to cut and paste 1692e(11). See,

Edwards v. Niagara Credit Solutions, Inc., 584 F.3d1350, 1351(11th Circuit 2009).

      36.    Defendant’s veiled threats intimating that the Plaintiff was in jeopardy

of escalation was objectively false and materially misleading and a violation of 15

U.S.C. §§ 1692e, 1692e(5), and 1692e(10).

      37.    Defendant’s language offering a settlement created confusion as to the

status of the claim and was thus a violation of 15 U.S.C. § 1692e(2)(A).

Violations of 15 U.S.C. § 1692g

      38.    Within five days after the initial communication with a consumer in

connection with the collection of any debt, a debt collector shall, unless the

following information is contained in the initial communication or the consumer

has paid the debt, send the consumer a written notice containing…

      the amount of the debt; the name of the creditor to whom the debt is owed; a

statement that unless the consumer, within thirty days after receipt of the notice,

disputes the validity of the debt, or any portion thereof, the debt will be assumed to

be valid by the debt collector; a statement that if the consumer notifies the debt

collector in writing within the thirty-day period that the debt, or any portion

thereof, is disputed, the debt collector will obtain verification of the debt or a copy

                                          12
        Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 13 of 16




of a judgment against the consumer and a copy of such verification or judgment

will be mailed to the consumer by the debt collector; and a statement that, upon

the consumer’s written request within the thirty-day period, the debt collector will

provide the consumer with the name and address of the original creditor, if

different from the current creditor. 15 U.S.C. § 1692g.

      39.    Defendant’s initial communication failed to comply with § 1692g.

      40.    Upon information and belief, Defendant did not send a written Notice

Of Debt within 5 days of the initial communication thus violating 15 U.S.C. §

1692g(a).

                                    COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      41.    Plaintiff incorporates by reference paragraphs 1 through 40 as though

fully stated herein.

      42.    O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      43.    The purpose of the GFBPA, is to protect consumers from unfair

and/or deceptive practices in the conduct of any trade or commerce in part or

wholly in the state. O.C.G.A. § 10-1-391.

                                        13
          Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 14 of 16




      44.      O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15

U.S.C. § 45(a)(1), which implements the FDCPA.

      45.      O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      46.      Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      47.      Defendant’s conduct has implications for the consuming public in

general.

      48.      Defendant’s conduct negatively impacts the consumer marketplace.

      49.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      50.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-

399(a).

      51.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

                                           14
          Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 15 of 16




       52.    As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

       53.    Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                      TRIAL BY JURY

       54.    Plaintiff is entitled to and hereby requests a trial by jury.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

       a.)    Plaintiff’s actual damages;

       b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

       d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-

399(a) & (c);

       e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-

399(d); and

       f.)    Such other and further relief as may be just and proper.




                                            15
 Case 1:21-cv-00870-LMM Document 1 Filed 03/02/21 Page 16 of 16




Respectfully submitted this 23rd day of February, 2020.


                              BERRY & ASSOCIATES

                               /s/ Matthew T. Berry
                               Matthew T. Berry
                               Georgia Bar No.: 055663
                               matt@mattberry.com
                               Mathew Landreau
                               Georgia Bar No.: 301329
                               Mlandreau@mattberry.com
                               2751 Buford Highway, Suite 600
                               Atlanta, GA 30324
                               Ph. (404) 235-3300
                               Fax (404) 235-3333

                               Plaintiff’s Attorney




                                 16
